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                  Exhibit 29
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                 FIRM RESUME
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OVERVIEW
Bleichmar Fonti & Auld LLP (“BFA” or the “Firm”) is a leading class action law firm
founded in 2014 with offices in Oakland, California; New York City, New York;
Toronto, Ontario; Westchester, New York; and Wilmington, Delaware. The Firm
focuses on the prosecution of consumer protection, antitrust, securities, and
corporate governance actions on behalf of consumers, governmental entities, and
institutional investors.
Our Consumer Protection Group is led by a diverse group of attorneys who have
deep experience across a gamut of practice areas. We enforce laws meant to protect
the environment as well as the health, privacy, and financial wellbeing of consumers
and our communities. The group has recovered billions of dollars on behalf of private
companies, municipalities, and individual consumers. Lesley E. Weaver, head of the
group, has litigated some of the most significant consumer actions of recent years,
including: In re Volkswagen “Clean Diesel” Marketing, Sales Practices, and Products
Liability Litig., which resulted in settlements totaling greater than $17 billion, the
largest automotive settlement in history; In re Chrysler-Dodge-Jeep EcoDiesel
Marketing, Sales Practices and Products Liability Litig., which resulted in a settlement
of $307.5 million; and In re Facebook, Inc. Consumer Privacy User Profile Litig., which
arises out of the Cambridge Analytica scandal. Lesley is also co-lead counsel or
executive committee in other significant privacy cases, including of course the
instant action, In re Google RTB Consumer Privacy Litigation and Calhoun, et al. v.
Google LLC.
BFA’s Antitrust Practice Group enforces laws meant to protect markets from
anticompetitive behavior on behalf of private companies, municipalities, and
individual consumers in landmark cases. We work with whistleblowers, experts,
public enforcers, nonprofit organizations, and private actors to redress serious
problems and identify solutions to them. This group plays a key role in significant
antitrust actions and has achieved significant recoveries on behalf of plaintiffs.
In addition, BFA’s founding partners have worked together for nearly two decades,
recovering billions of dollars for investors. In the last ten years, BFA’s partners have
represented lead plaintiffs in dozens of securities class actions. Our partners are
supported by a team recruited for their excellence and dedication to our practice, as
they carefully built a talented team who have collaborated for years, ensuring a
wealth of experience to draw on for our clients.
The lawyers leading these cases are nationally recognized as leading litigators in the
field of privacy, consumer, and securities litigation, and our achievements have been
profiled in a variety of national and international media, including The Wall Street
Journal, The New York Times, Law 360, Chambers, the National Law Journal’s
Plaintiffs’ Hot List, and The Legal 500. We are also frequently asked to comment on
breaking developments in antitrust, consumer, financial fraud, securities, and other
investment-related issues.




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CONSUMER LITIGATION HIGHLIGHTS
The Consumer Protection Group plays an important role in significant actions,
including those described below.

In re Facebook, Inc. Consumer Privacy User Profile
Litigation                                                         Case Status:
      MDL No. 2843                                                    Pending
      Northern District of California, No. 3:18-md-02843

Background: This high-profile case arising out of the Cambridge Analytica scandal,
seeks redress for Facebook users in the U.S. whose private content was unlawfully
shared with numerous third parties. The detailed consolidated complaint alleges that
Facebook violated consumer fraud and privacy laws by disclosing Facebook users’
private information, without their knowledge or consent, to third parties, and that
Facebook failed to take adequate steps to monitor third parties’ access to, and use
of, that information in violation of Facebook’s terms of service.
BFA’s Role: Ms. Weaver serves as Co-Lead Counsel for Plaintiffs.
Status: On March 29, 2023, Judge Vince Chhabria issued an Order Granting
Preliminary Approval of the proposed $725 million class action settlement.

In re Google RTB Consumer Privacy Litigation                       Case Status:
      Northern District of California, No. 4:21-cv-02155              Pending

Background: The case is the first in the country to demand transparency about what
information Google reveals about its users when it auctions ad placements to Google
users through Google’s “Real-Time Bidding” system.
BFA’s Role: Ms. Weaver is a member of the Plaintiffs’ Executive Committee.
Status: On June 13, 2022, Judge Gonzalez Rogers denied in large part Google’s
motion to dismiss, upholding all but one of Plaintiffs’ claims. Discovery in this matter
is ongoing.

Calhoun, et al. v. Google LLC                                      Case Status:
      Northern District of California, No. 4:20-cv-05146              Pending

Background: This nationwide data privacy class action is brought on behalf of Google
Chrome users alleging that Google violated its express promise not to take users’
personal data when using the Chrome browser outside of synched mode.
BFA’s Role: BFA is acting as co-lead counsel representing the class of Chrome users
in this litigation.
Status: In March 2021, Judge Koh issued a landmark ruling holding that data is
property in upholding Plaintiffs’ claims at the pleading stage. In December 2022,
Judge Gonzalez Rogers granted Google’s motion for summary judgement. Plaintiffs
have filed a notice of appeal.



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In re: ZF-TRW Airbag Control Units Products Liability
Litigation                                                         Case Status:
      MDL No. 2905                                                    Pending
      Central District of California, No. 2:19-MD-02905

Background: The class action complaint alleges the ZF-TRW airbag and seat belt
control units in over 15 million cars sold are defective and may prevent airbags from
inflating in the event of crash. This defect has been linked to at least eight deaths
and several serious injuries.
BFA’s Role: Judge John A. Kronstadt of the Central District of California appointed
Lesley Weaver to the Plaintiffs’ Steering Committee for this multidistrict litigation.
Status: The parties have briefed motions to dismiss, to stay discovery, and to compel
arbitration.

Ji, et al. v. Naver Corp., et al.                                  Case Status:
      Northern District of California, No. 4:21-cv-05143              Pending

Background: The class action complaint alleges Defendants surreptitiously collected
personal information of users of the mobile messenger app, LINE Messenger, and
photo altering app, B612.
BFA’s Role: BFA is acting as co-lead counsel representing the class of users of the
LINE Messenger and B612 apps.
Status: Plaintiffs filed their First Amended Class Action Complaint on October 28,
2022. The Defendants’ motions to dismiss are pending.

White, et al. v. Samsung Electronics America, Inc.                 Case Status:
      District of New Jersey, No. 2:17-cv-01775                       Pending

Background: Plaintiffs allege that Samsung Electronics America, Inc. violated the
federal Wiretap Act by surreptitiously collecting the personal and private information
of Smart TV consumers without obtaining informed consent. The information
Samsung collects through its Smart TVs includes what consumers watch, listen to,
and their private conversations.
BFA’s Role: BFA represents the putative class as interim class counsel.
Status: The case is proceeding through discovery. On August 21, 2019, Judge Arleo
denied, in part, Defendants' motion to dismiss, and upheld Plaintiffs' claim for
violation of the Wiretap Act.
On December 29, 2021, Judge Arleo denied Samsung’s motion to compel arbitration.
Samsung appealed and on March 7, 2023, the Third Circuit Court of Appeals affirmed
the District Court's order holding that Samsung waived its right to arbitrate.




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Nazos, et al. v. Toyota Motor Sales, U.S.A., Inc.                  Case Status:
      Central District of California, No. 2:22-cv-02214                Pending

Background: This case alleges that the 2007 to 2014 Toyota FJ Cruisers lack
adequate rust protection, causing the frames of the vehicles to excessively and
prematurely rust and corrode. Plaintiffs bring claims for fraudulent concealment and
breach of implied warranty under the respective laws of the named plaintiffs’ states.
BFA’s Role: BFA represents the putative classes as interim class counsel.
Status: On March 3, 2023, Judge Percy Anderson denied, in part, Toyota Motor Sales
U.S.A.’s motion to dismiss. Discovery in this matter is ongoing.

In re Volkswagen “Clean Diesel” Marketing, Sales
Practices, and Products Liability Litigation                    Total Settlements:
      MDL No. 2672                                                    $17 Billion
      Northern District of California, No. 3:15-md-02672

Background: This landmark case resolved claims against Volkswagen, Audi and
Porsche in connection with the widely-reported news that the companies had
installed emission systems created to avoid regulator detection and defraud
customers who believed they were buying Volkswagen and Audi vehicles with “clean
diesel” engines. VW admitted that it installed these “defeat devices,” which
eliminated the emissions reduction during normal driving, and only allowed for
reduced fuel emissions when the automobiles were being tested.
BFA’s Role: Judge Charles R. Breyer appointed Ms. Weaver to the Plaintiffs’ Steering
Committee. Ms. Weaver’s leadership position in the case included spearheading the
investigation that ultimately uncovered German auto supplier Robert Bosch GmbH’s
significant role in multiple schemes to place software purposefully designed to evade
emissions laws in vehicles. She also led the investigation into additional claims
relating to defeat devices in certain gas vehicles, resulting in an additional $96.5
million settlement for the Class.
Status: Lead Counsel and the Plaintiffs’ Steering Committee have achieved
settlements for Plaintiffs worth more than $17 billion, the largest automotive class
action recovery in history.

In re Chrysler-Dodge-Jeep EcoDiesel Marketing, Sales
Practices and Products Liability Litigation                     Total Settlements:
      MDL No. 2777                                               $307.5 Million
      Northern District of California, No. 3:17-md-02777

Background: This case resolved claims against Fiat Chrysler and Bosch over
allegations that they deliberately cheated on emission testing of 2014-2016 model
Dodge and Jeep trucks marketed and sold as environmentally friendly “eco-diesel”
vehicles.



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BFA’s Role: Judge Edward Chen of the U.S. District Court for the Northern District of
California appointed Ms. Weaver as one of nine members of the Plaintiffs’ Steering
Committee. Ms. Weaver played a key role in litigating the action, including taking
depositions and coordinating with experts.
Result: The case has settled for $307 million in cash in addition to extended
warranties worth more than $120 million.




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U.S. ANTITRUST LITIGATION HIGHLIGHTS
Lesley Weaver, Anne Davis, and the BFA team play key roles in many significant
antitrust actions, including in those described below.

In re Local TV Advertising Antitrust Litigation
                                                                      Case Status:
      MDL No. 2867
                                                                          Pending
      Northern District of Illinois, No. 1:18-cv-0678

Background: Plaintiffs allege a price fixing cartel facilitated by an anticompetitive
information exchange between and among certain major television station owners
and operators to artificially inflate the prices of broadcast television spot
advertisements.
BFA’s Role: BFA acts as counsel for Plaintiff One Source Heating & Cooling, LLC and
is an integral member of the litigation team.
Status: On November 6, 2020, Judge Virginia Kendall of the Eastern District of Illinois
denied Defendants’ motion to dismiss. Discovery in this matter is ongoing.

In re Packaged Seafood Products Antitrust Litigation
      MDL No. 2670                                                  Case Status:
      Southern District of California, No. 3:15-md-                      Pending
       02670

Background: Plaintiffs allege Defendants entered into a conspiracy involving
packaged seafood products in violation of the Sherman Act and state antitrust law.
BFA’s Role: BFA is part of a critical discovery effort against a key Defendant.
Status: On July 30, 2019, Judge Janis L. Sammartino granted class certification to a
class of direct purchasers. In January 2021, Direct Purchaser Plaintiffs and Defendants
Tri-Union Seafoods d/b/a Chicken of the Sea International and Thai Union Group PCL
announced a settlement agreement in principle, and a motion for final approval is
pending. The remaining parties have briefed motions for summary judgment and are
awaiting a decision.

                                                                      Case Status:
                                                                     $60 million in
In re Domestic Airlines Travel Antitrust Litigation
                                                                      settlements;
      District of Columbia, No. 1:15-mc-01404
                                                                  Remaining litigation
                                                                      pending

Background: Plaintiffs allege a conspiracy by the four largest commercial air
passenger carriers in the United States—American Airlines, Inc., Delta Airlines, Inc.,
Southwest Airlines Co., and United Airlines, Inc.—to fix prices for domestic air
passenger transportation services in violation of the Sherman Act by colluding to
limit capacity on their respective airlines.



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BFA’s Role: BFA is a key part of Plaintiffs’ nonparty discovery committee and has led
meet and confer negotiations with dozens of nonparties, resulting in the production
of some of Plaintiffs’ best evidence.
Status: Plaintiffs settled for $15 million with Defendant Southwest Airlines and
$45 million with Defendant American Airlines. The parties have briefed summary
judgment motions brought by the remaining Defendants.

                                                                    Case Status:
                                                                    $21 million in
In re Mexican Government Bonds Antitrust
                                                                    settlements;
      Southern District of New York., No. 1:18-cv-02830
                                                                Remaining litigation
                                                                    pending

Background: Plaintiffs allege that Defendant broker-dealers have fixed auctions for
securities issued by the Mexican government and manipulated the bid-ask spread in
transactions to U.S.-based investors, causing U.S.-based investors to pay artificially
inflated prices for their Mexican government bonds.
BFA’s Role: BFA represents Southeastern Pennsylvania Transit Authority and is
assisting the team litigating the case in the Southern District of New York.
Status: Plaintiffs negotiated ice-breaker settlements with JPMorgan for $15 million
and Barclays PLC for $5.7 million, both of which are cooperating in litigating against
the remaining Defendants, including by providing incriminating documents that have
bolstered Plaintiffs’ highly detailed complaint. The action against the remaining
Defendants is on appeal.

In re Disposable Contact Lens Antitrust Litigation
                                                                 Total Settlements:
      MDL No. 2626
                                                                    $118 million
      Middle District of Florida, No. 3:15-md-02626

Background: This case resolved claims against four leading contact lens
manufacturers and the largest nationwide distributor of contact lenses. Plaintiffs
alleged that Defendants unilaterally imposed minimum retail prices for contact
lenses, in violation of state and federal antitrust laws.
BFA’s Role: BFA led discovery efforts against the largest manufacturer-Defendant,
Johnson & Johnson.
Status: Plaintiffs settled with Defendant CooperVision, Inc. for $3 million, with
Defendant Bausch & Lomb for $10 million, with Defendant ABB Optical Group LLC
for $30.2 million, with Defendant Alcon Vision, LLC for $20 million, and with
Defendant Johnson & Johnson Vision Care, Inc. for $55 million.




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In re Farm-Raised Salmon and Salmon Products
                                                                   Total Settlements:
Litigation
                                                                         $85 Million
      Southern District of Florida, No. 19-CV-21551

Background: Plaintiffs alleged that Defendants fixed prices of farm-raised Atlantic
salmon sold in the United States.
Role: BFA worked with the executive team in facilitating jurisdictional discovery.
Status: Plaintiffs achieved a $85 million settlement.




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SECURITIES LITIGATION HIGHLIGHTS

BFA partners have represented lead plaintiffs in dozens of securities class actions
and individual actions, including the cases featured below.

The Police Retirement System of St. Louis v. Granite
Construction Incorporated, et al.                                  Total Settlement:
      Northern District of California, No. 19-cv-04744              $129 Million
      Client: The Police Retirement System of St. Louis

Background: Plaintiffs alleged that Granite and its senior management fraudulently
misrepresented the impact of several of the company’s largest joint venture
construction projects on Granite’s business by understating the significant cost
overruns and schedule delays the Company was experiencing and their impact on
Granite’s financial statements.
BFA’s Role: BFA is sole Lead Counsel for Court-appointed Lead Plaintiff the
Police Retirement System of St. Louis.
Status: BFA achieved a $129 million settlement for the class in 2022. When approving
the settlement, Judge William Alsup observed that it “is almost entirely the result of
the hard work of class counsel.”

Ontario Teachers’ Pension Plan Board, et al v. Teva
Pharmaceutical Industries Ltd. et al.
                                                                   Total Settlement:
      District of Connecticut, No. 17-cv-00558
                                                                       $420 Million
      Clients: Ontario Teachers’ Pension Plan Board and
       Anchorage Police and Fire Retirement System

Background: Plaintiffs alleged that the company and its senior management made
materially false and misleading statements that concealed that Teva had engaged in
a multi-year scheme to exponentially increase generic drug prices across its
portfolio, in some instances by more than 1000%. Often, these increases were in lock-
step with so-called competitors.
BFA’s Role: BFA was sole Lead Counsel for Court-appointed Lead Plaintiff Ontario
Teachers’ and Named Plaintiff Anchorage Police and Fire Retirement System.
Status: BFA secured a $420 million settlement for the class. In approving the
settlement, Judge Stefan R. Underhill described the case as “the most complex
securities case I’ve ever had” and praised BFA’s work as Lead Counsel, stating, “[t]he
quality of the representation was excellent in the face of very quality defense . . . This
was not a case that every law firm could handle, and I think it was done exceptionally
well.”




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In re Citigroup Securities Litigation
      Southern District of New York, No. 20-CV-9132                    Case Status:
      Client: Public Sector Pension Investment Board                     Pending
       ("PSP")

Background: Plaintiffs allege that Citigroup and its senior management
misrepresented and concealed that the company's internal controls and risk
management systems suffered from serious and longstanding deficiencies that
exposed the Company to massive regulatory penalties that will cost significantly
more than $1 billion to remediate.
BFA’s Role: BFA is sole Lead Counsel for Court-appointed Lead Plaintiff PSP.
Status: The Court appointed PSP as Lead Plaintiff and approved its choice of BFA as
Lead Counsel on February 4, 2021. BFA filed an Amended Complaint on April 20,
2021. The Court dismissed the complaint on March 24, 2023. BFA's motion to amend
the complaint is due May 24, 2023.

Bilinsky v. Gatos Silver, Inc.
                                                                        Case Status:
      District of Colorado, No. 22-CV-00453
                                                                          Pending
      Client: Individual Investors

Background: Plaintiffs allege that Gatos and its senior management made materially
false and misleading statements and concealed the fact that a key technical report
for its Cerro Los Gatos silver mine located in Chihuahua, Mexico contained significant
errors and overestimated the mineral reserves in the mine by as much as 50%.
BFA’s Role: BFA was appointed sole Lead Counsel for the putative class on June 3,
2022.
Status: BFA filed an amended class action complaint on August 15, 2022. Defendants’
motion to dismiss is pending.

In re Talis Biomedical Securities Litigation
                                                                        Case Status:
      Northern District of California, No. 22-CV-00105
                                                                          Pending
      Client: Individual Investors

Background: Plaintiffs allege that the company, its senior officers and directors, as
well as the underwriters for Talis’s initial public offering violated the Securities Act of
1933 by misrepresenting the effectiveness, regulatory status, and ability to
manufacture a COVID-19 test.
BFA’s Role: BFA was appointed co-Lead Counsel for the putative class on June 3,
2022.
Status: BFA filed a second amended class action complaint on January 13, 2023. On
April 28, 2023, the Court denied defendants’ motion to dismiss. Discovery is
ongoing.




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Owen v. Elastos Foundation
                                                                   Case Status:
      Southern District of New York, No. 19-CV-05462
                                                                     Pending
      Client: Individual Investors

Background: Lead Plaintiffs allege that the Defendants offered and sold unregistered
securities in the form of ELA Tokens, which the Defendants marketed as the “intrinsic
token on the Elastos blockchain” that could “be used for trading, investing in digital
assets, paying for blockchain processing fees and so on.” Defendants offered or sold
the ELA Tokens in an initial coin offering (“ICO”) in January 2018, in the secondary
market, and in a “Lock-In” program, whereby Elastos offered investors additional
ELA Tokens in exchange for the investors agreeing not to sell their tokens for a
predetermined length of time. Lead Plaintiffs allege violations of Sections 5, 12(a)(1),
and 15 of the Securities Act of 1933, and the case raises complex and novel issues
concerning the application of the Securities laws to digital assets.
BFA’s Role: BFA was appointed Lead Counsel for the putative class on May 26, 2020.

Status: On December 9, 2021, the Court denied the Defendants’ motion to dismiss the
Lead Plaintiffs’ Amended Complaint. In adopting BFA’s arguments, Judge Woods
held that it had personal jurisdiction over the Defendants and that the Amended
Complaint properly alleged timely violations of the Securities Act related to the sale,
offer, and/or delivery of ELA Tokens in the initial coin offering (“ICO”), on the
secondary market, and in connection with Elastos’ lock-in program. The case is now
in discovery.

Lozada v. TaskUs, Inc.
                                                                   Case Status:
      Southern District of New York, No. 22-CV-01479
                                                                     Pending
      Client: Individual Investors

Background: Plaintiffs allege that TaskUs and certain of its senior officers made
materially false and misleading statements and concealed that the company was
experiencing business challenges, and overstated the size of TaskUs’s workforce and
understated employee attrition rates.

BFA’s Role: BFA filed the class action complaint against TaskUs on February 23,
2022. The Court appointed BFA as sole Lead Counsel on October 20, 2022.
Status: BFA filed an Amended Complaint on December 16, 2022.

MTA v. Allianz Global Investors U.S., L.L.C.
                                                                      Case Status:
      Southern District of New York, No. 20-CV-7842
                                                                        Settled
      Client: Metropolitan Transportation Authority

Background: Plaintiff the Metropolitan Transportation Authority (“MTA”) alleged that
it lost over 90% of its investment in Allianz Global Investor’s Structured Alpha funds
due to Allianz’s negligent and imprudent trading strategies and its failure to
implement adequate risk management procedures.
BFA’s Role: BFA represented the MTA.



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Status: BFA achieved a confidential settlement in 2022.

In re MF Global Holdings Ltd. Securities Litigation
      Southern District of New York, No. 11-cv-07866             Total Settlements:
      Client: Alberta Investment Management Corp.                  $234.3 Million
       (“AIMCo”)

Background: This litigation arose from MF Global’s dramatic bankruptcy in October
2011. Plaintiffs alleged that Defendants misrepresented MF Global’s risk controls,
liquidity position, and exposure to European sovereign debt, and failed to properly
account for its deferred tax assets.
BFA’s Role: BFA represented Court-appointed Co-Lead Counsel for the putative
class.
Status: Lead Counsel achieved five partial settlements totaling just over $234 million
on behalf of investors: (1) a $74 million settlement with Goldman Sachs and certain
other underwriters of the company’s securities; (2) a $64.5 million settlement with
former officers and directors, including MF Global’s former CEO Jon Corzine; (3) a
$65 million settlement with auditor PricewaterhouseCoopers; (4) a $29.825 million
settlement with Jeffries and other underwriters of the final bond offering issued
during the Class Period; and (5) a separate $932,828 settlement with another
underwriter Defendant associated with that last offering.

In re Genworth Financial Inc. Securities Litigation
      Eastern District of Virginia, No. 14-cv-00682              Total Settlement:
      Client: Alberta Investment Management Corp.                      $219 Million
       (“AIMCo”)

Background: Plaintiffs alleged that Defendants misrepresented the profitability of the
company’s core business and reported false financial results by grossly understating
long-term care insurance reserves.
BFA’s Role: The Court appointed BFA to serve as Co-Lead Counsel for the putative
class.
Status: Lead Counsel achieved a $219 million settlement for the class, the largest
securities class action recovery achieved in the Eastern District of Virginia.

In re Weatherford International Securities Litigation
      Southern District of New York, No. 12-cv-02121             Total Settlement:
      Client: Anchorage Police and Fire Retirement                     $120 Million
       System

Background: Plaintiffs alleged that Weatherford, one of the world’s largest oil and
gas servicing companies, issued false financial statements that misled investors
about its tax structure and internal controls.




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BFA’s Role: BFA represented Court-appointed Co-Lead Plaintiff Anchorage Police
and Fire Retirement System, and BFA partner Javier Bleichmar represented
Anchorage continuously since the case was filed in March 2012.
Status: Plaintiffs achieved a $120 million settlement.

In re Computer Sciences Corp. Securities Litigation
                                                                    Total Settlement:
      Eastern District of Virginia, No. 11-cv-00610
                                                                          $97.5 Million
      Client: Ontario Teachers’ Pension Plan Board

Background: Plaintiffs alleged that the company and two of its executive officers
misrepresented a multi-billion-dollar contract with the United Kingdom’s National
Health Service, and that the company’s internal controls were adequate.
BFA Role: BFA partners Javier Bleichmar, Joseph A. Fonti, and Dominic Auld
represented Court-appointed Lead Plaintiff Ontario Teachers’ at all stages of this
case.
Status: Plaintiffs achieved a $97.5 million settlement.

In re Celestica Inc. Securities Litigation
      Southern District of New York, No. 07-cv-00312               Total Settlement:
      Client: New Orleans Employees’ Retirement                          $30 Million
       System

Background: Plaintiffs alleged that Defendants made false and misleading statements
relating to a significant corporate restructuring plan, earnings, profitability, and
financial outlook.
BFA’s Role: BFA partners Joseph Fonti and Erin Woods represented Lead Plaintiffs
in this litigation.
Status: Plaintiffs achieved a $30 million settlement.




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DERIVATIVE ACTION HIGHLIGHT

The BFA team has also represented lead plaintiffs in derivative actions, including the
case featured below.

The Police and Fire Retirement System of the City of
Detroit v. Elon Musk, et al.
                                                                        Case Status:
      Delaware Chancery Court, C.A. No. 2020-0477
                                                                          Pending
      Client: Police and Fire Retirement System of the
       City of Detroit

Background: Plaintiffs allege that certain current and former members of Tesla’s
Board of Directors awarded themselves unfair and excessive compensation.
BFA’s Role: BFA is Counsel for Plaintiff Police and Fire Retirement System of the City
of Detroit.
Status: BFA is co-counsel representing the Police and Fire Retirement System of the
City of Detroit (“Plaintiff”) in a derivative suit brought on behalf of Tesla, Inc. against
members of Tesla’s Board of Directors (the “Director Defendants”). In its complaint,
Plaintiff alleges that, from 2017 to 2020, the Director Defendants awarded
themselves excessive compensation each year.                Specifically, they awarded
themselves tens of thousands of stock options, with grant date fair values regularly
exceeding more than $2 million per director per year. This compensation was
significantly above the compensation awarded to directors at Tesla’s peer
companies. Through these awards, Plaintiff alleges that the Director Defendants
breached their fiduciary duties and unjustly enriched themselves at Tesla’s expense.
On September 17, 2020, the Director Defendants filed an answer to the complaint.
The parties have been engaged in discovery: Plaintiff has completed 22 fact witness
depositions, the parties have exchanged opening expert reports, and expert
discovery is scheduled to conclude by the end of July 2023. The parties will then
prepare for a five-day trial, which is scheduled for November 27 to December 1, 2023.




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TEAM PROFILES

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Lesley Weaver is the Partner in Charge of BFA’s California office, and the practice
head of the Antitrust and Consumer teams. For nearly thirty years, Lesley has
litigated high profile cases that protect the public interest, consumers, and public
entities and has been appointed to leadership positions in some of the largest class
actions in the country.
As Co-Lead Counsel for plaintiffs in In re: Facebook, Inc. Consumer Privacy User
Profile Litigation, Lesley and the BFA team resolved an extremely complex and hard
fought litigation, resulting in the largest privacy class action settlement in history at
$725 million. The case arose from revelations arising out of the Cambridge Analytica
scandal, which revealed third parties’ use of Facebook user profile data. After five
years of intense litigation, resulting in numerous notable orders relating to both
privacy and discovery matters, the matter resolved, and has been preliminarily
approved. Lesley also served as liaison counsel in In re Twitter Secs. Litigation, which
settled for $805 million in 2022.
Lesley served on the Plaintiffs’ Steering Committee “legal dream team” in In re
Volkswagen “Clean Diesel” Marketing, Sales Practices, and Products Liability Litig.,
MDL No. 2672 CRB (JSC). The PSC in the Volkswagen litigation recovered roughly
$12 billion for class members and nearly $5 billion for the environment, the largest
automotive class action recovery ever. In June 2017, Lesley was appointed to the
Plaintiffs’ Steering Committee bringing claims against Fiat Chrysler and Bosch in In re
Chrysler-Dodge-Jeep EcoDiesel Marketing, Sales Practices and Products Liability,
MDL No. 17-MD-02777-EMC (“Fiat Chrysler”). Like Volkswagen, that lawsuit provided
significant financial relief to consumers arising out of the emissions defeat devices,
resulting in consumer payments of roughly $400 million and another $350 million for
the environment. In 2015, Lesley won a complete jury verdict in one of the few
privacy cases to go to trial in the country, which awarded 100% of economic
damages and $15 million in punitive damages.
Lesley has received numerous awards throughout her career, including being
honored as National Law Journal’s Elite Women of the Plaintiffs’ Bar (2023), National
Trial Lawyers Top 100 (2023), Lawdragon 500 Leading Lawyers in America (2023),
California Lawyer of the Year (2018), the National Law Journal’s Plaintiffs’ Trailblazer
(2018), and a SuperLawyer since 2016.
Currently, Lesley is a member of the Plaintiffs’ Executive Committee in the In re
Google RTB Consumer Privacy Litigation, a nationwide class action challenging
Google’s practice of sharing and selling users’ personal information through Google’s
digital ad auction system, Google Real-Time Bidding (RTB); and a member of the
Plaintiffs’ Steering committee in In re ZF-TRW Airbag Control Units Products Liability


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Litigation, a class case alleging that airbag and seat belt control units in over 15
million cars are defective and may prevent airbags from inflating in the event of
crash.
Lesley also has extensive experience in litigating antitrust actions and representing
sophisticated institutional investors in landmark securities actions. Some of those
cases include In re Local TV Advertising Antitrust Litigation, In re Domestic Airlines
Travel Antitrust Litigation, In re Marsh & McLennan Cos., Inc. Securities Litigation
($400 million settlement); In re Cavanaugh Securities Litigation (including an appeal
to the Ninth Circuit concerning the method of selecting lead plaintiff and lead
counsel after the enactment of the Private Securities Litigation Reform Act
(“PSLRA”)); In re Cardinal Health Inc. Securities Litigation ($600 million settlement);
and In re Cisco Systems, Inc. Securities Litigation ($99 million settlement).
Lesley is committed to public service through volunteer efforts. She is currently a
Lawyer Representative for the Northern District of California; Chair of BASF’s
cybersecurity and privacy committee. She is active in Sedona Working Groups 1, 6
and 11. She has been a repeat presenter at the Bolch Institute’s MDL Certificate
training program; PLI Accounting for Lawyers; and is one of the original drafters of
the Duke MDL Diversity Guidelines. She is a past Co-Chair of Bay Area Lawyers for
Individual Freedom; a past Co-Chair of the San Francisco LGBT Community Center;
past National Chair of the National Center for Lesbian Rights; past Vice-President
and Director of the Board of the Frameline Film Festival; and a former Director of
Equality California and the International Gay and Lesbian Human Rights Commission.
Lesley studied at the University of Bonn (Germany) and Harvard College (A.B.), and
received a J.D. from the University of Virginia Law School (1997). She is admitted to
practice in the federal district courts of California, the Eastern District of Michigan,
and the Ninth Circuit, and speaks German, Danish and some French.
Lesley is admitted to practice in California (1997), the U.S. Court of Appeals for the
Ninth Circuit (1998), and the U.S. District Courts for the Northern District (1997) and
the Eastern, Central, and Southern Districts of California (1998).
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Javier Bleichmar leads BFA’s U.S. Case Evaluation and U.S. Securities Litigation
teams. He brings a long career of litigation success to his prosecution of large-scale
fraud class actions on behalf of institutional investors. Javier has over two decades of
experience and in addition to recently being named a Titan of the Plaintiffs’ Bar by
Law 360, has been “recommended” in the field of securities litigation
by The Legal 500.
Javier currently leads the BFA team prosecuting the class action against Citigroup,
Inc. Recently, he prosecuted the securities action against Allianz Global Investors
U.S., L.L.C. on behalf of the Metropolitan Transportation Authority, and was a


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member of the team litigating a securities class action against Teva Pharmaceutical
Industries, Ltd., which settled for $420 million.
Previously, Javier obtained a $129 million recovery from Granite Construction Inc., on
behalf of the Police Retirement System of St. Louis and Granite investors, in
connection with the company’s restatement of its financial results in 2020. BFA’s
recovery was multiples higher than the enforcement action brought by the SEC,
which recovered $12 million.
Javier also was BFA’s lead lawyer In re MF Global Holdings Limited Securities
Litigation on behalf of Her Majesty the Queen in Right of Alberta and MF Global
investors, in connection with the company’s dramatic collapse and
bankruptcy. Plaintiffs secured settlements in 2015 totaling over $234 million,
resolving claims against MF Global’s former officers and directors, several
underwriter defendants, and MF Global’s outside auditor.
Javier is active in educating international institutional investors on developing trends
in the law, particularly the ability of international investors to participate in securities
class actions outside the United States. Through these efforts, many of Javier’s
international clients were able to join the organization representing investors (i.e., the
Foundation) in the first securities class action settlement under the then-recently
enacted Dutch statute against Royal Dutch Shell. He has co-authored articles
concerning the potential conflicts of interest in the private equity industry and
developments in the class action landscape in Australia, and also provides thought
leadership as a regular contributor on securities issues in the New York Law
Journal. He has co-authored “IndyMac Leaves Uncertain Landscape for Opt-Out
Litigation” and “The Evolving Legacy of Fait v. Regions Financial.” Javier is an active
member of the National Association of Public Pension Plan Attorneys (NAPPA).
Prior to founding the Firm, Javier was a Partner at two other plaintiffs’ securities
firms, where he was actively involved in the In re Williams Securities Litigation, which
resulted in a $311 million settlement, as well as significant securities matters involving
Lucent Technologies, Conseco, and Biovail. He began his legal career at Kirkland &
Ellis LLP. Javier earned a B.A. from the University of Pennsylvania and a J.D. from
Columbia University School of Law (1998), where he was a Harlan Fiske Stone
Scholar. During law school, he served as a law clerk to the Honorable Denny Chin,
U.S. District Judge for the Southern District of New York. Javier is a native Spanish
speaker and fluent in French.
Javier is admitted to practice in New York (1999), the U.S. Supreme Court (2014), and
the U.S. Courts of Appeals for the Second Circuit (2010), Eighth Circuit (2010), Ninth
Circuit (2010), Tenth Circuit (2013), and Eleventh Circuit (2011). He is also admitted in
the U.S. District Courts for the Southern and Eastern Districts of New York (1999).




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Joseph A. Fonti leads the Firm’s U.S. Securities Litigation practice. With over two
decades of experience representing institutional investors in complex litigation,
Joseph’s commitment to clients, dedication to his cases, and advocacy skills have led
to exceptional results in several of the most prominent cases in recent decades.
Joseph and BFA have been recognized by several of the nation’s leading and most
selective legal publications, including The Legal 500, ISS Securities Class Action
Services, and Law 360. Most recently, Joseph has been named a Titan of the
Plaintiffs Bar by Law360, and has been profiled by The New York Law
Journal, Forbes & Fortune, and CT Insider for the landmark achievements he achieved
for investors.
Joseph led BFA’s prosecution of the securities class action against Teva
Pharmaceutical Industries, Ltd. arising from misrepresentations concerning price
fixing and other unlawful conduct. BFA secured a $420 million settlement after five
years of hard-fought litigation, including class certification, completing intensive fact
and expert discovery, and preparing a summary judgment motion. This represents
the second largest securities class settlement in 2022 and the all-time fourth-largest
within the Second Circuit, excluding cases arising from restatements or the 2008-09
financial crisis.
Throughout his career, Joseph has led historic litigations representing U.S.
institutional investors as well as a number of Canada’s most significant pension
systems and asset managers. He served as co-lead counsel in the $219 million
recovery on behalf of shareholders of Genworth Financial, a long-term care insurer,
which represents the largest securities class action settlement in the history of the
Eastern District of Virginia. Likewise, Joseph served as sole Lead Counsel in the
securities class action involving Computer Science Corporation, and resolved the
case for $97.5 million for the class at the brink of trial. Joseph also helped lead the
prosecution and ultimate resolution of the Weatherford securities litigation achieving
a $120 million recovery for Weatherford shareholders. He also contributed to
securing a $173.5 million settlement in In re Broadcom Corp. Securities Litigation,
which, at the time, was the second-largest cash settlement involving a company
accused of options backdating.
Joseph’s career is also marked by significant successes in the area of auditor liability.
He represented shareholders in the $671 million recovery in In re HealthSouth
Securities Litigation and recovered $109 million from HealthSouth’s outside auditor
Ernst & Young LLP, one of the largest recoveries to date against an auditing firm.
Currently, Joseph is leading BFA’s securities class action against Citigroup, Inc. and
derivative action against Tesla’s Board of Directors.
Additionally, Joseph has achieved notable success as an appellate advocate. He
successfully argued before the Second Circuit Court of Appeals in In re Celestica Inc.


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Securities Litigation, resulting in the Second Circuit reversing the District Court’s
dismissal of claims. Joseph was also instrumental in the advocacy before the Ninth
Circuit Court of Appeals in the In re Broadcom Corp. Securities Litigation, which
marked the first occasion in which a court upheld allegations against an outside
auditor related to options backdating.
Joseph is a member of the American Bar Association, the New York State Bar
Association, the Bar of the City of New York, and the National Association of Public
Pension Attorneys (NAPPA).
Deeply dedicated to community service, Joseph maintains an active pro bono
practice and serves as Chair of the Leadership Committee for the Cardinal’s Annual
Stewardship Appeal for the Archdiocese of New York, which supports local
communities throughout ten New York counties.
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Anne Davis has more than a decade of experience litigating complex matters in both
federal and state courts, including the courts of California, Delaware, and Kansas. She
focuses her practice on complex investigations and litigation of antitrust, consumer,
and securities matters.
Anne plays a key role in litigating In re: Facebook, Inc. Consumer Privacy User Profile
Litigation and In re Google RTB Consumer Privacy Litigation; as well as a member of
the In Re: ZF-TRW Airbag Control Units Products Liability Litigation, In re Local TV
Advertising Antitrust Litigation and In re Domestic Airlines Travel Antitrust Litigation
teams. She serves on the Executive Committee of the California Lawyer’s
Association’s Antitrust and Unfair Competition Law Section, and is an active member
of and contributor to the Data Security and Privacy Liability working group (WG11)
for the Sedona Conference.
Prior to joining BFA, Anne served as a Principal Counsel for Sales Practice
Enforcement at the Financial Industry Regulatory (FINRA), where she, as
appropriate, brought charges and negotiated resolutions or litigated formal actions
pertaining to violations of FINRA, U.S. Securities and Exchange Commission (SEC),
and Municipal Securities Rulemaking Board (MSRB) rules, and the federal securities
laws by registered individuals and FINRA member firms.
Before FINRA, she was a senior associate at a global law firm, where she specialized
in securities litigation and enforcement, complex civil litigation, and internal
investigations.
Anne earned a B.A. with honors from DePaul University (2002), a M.A. (Political
Science) from the University of Michigan (2006), and a J.D. from the University of
Michigan Law School (2008). She is admitted to practice in California (2009), and
the U.S. District Courts for the Northern (2010), Central (2011) and Eastern (2014)
Districts of California and the Eastern District of Michigan (2019).


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Matt Melamed is a Partner in BFA’s Oakland office, where he is a member of the
firm’s Consumer Litigation and Antitrust teams. He has nearly 15 years of experience
representing plaintiffs, municipalities, and states in almost every aspect of litigation.
Since joining BFA, Matt has primarily focused on representing the plaintiffs in the
multi-district litigation In re: Facebook, Inc. Consumer Privacy Litigation, which
consolidates numerous cases that arose out of the Cambridge Analytica scandal.
Before joining the firm, Matt was a partner at another plaintiffs’ class action firm,
where he represented cities, counties, and states in nationwide litigation concerning
the marketing, distribution, and dispensing of prescription opioids. Among other
roles in those cases, he represented the City and County of San Francisco, whose
case was remanded as an MDL bellwether from In re: National Opiate Litigation. Matt
also litigated numerous securities fraud lawsuits, including Villella v. Chemical &
Mining Company of Chile, Inc., In re St. Jude Medical, Inc. Securities Litigation, In re
LeapFrog Enterprise, Inc. Securities Litigation, and Jones v. Pfizer Inc., each of which
resulted in plaintiff recoveries. All told, Matt has been a member of case teams that
recovered more than $1.2 billion for investors, consumers, and municipalities.
Matt was previously a law clerk for the Honorable Joseph A. Greenaway, Jr. on both
the United States District Court for the District of New Jersey and the United States
Court of Appeals for the Third Circuit. He was also the Kazan-Wallace Attorney at
Public Justice PC.
Matt has authored the articles Planning for Aggressive Multiparty Discovery in a Fast-
Moving, Complex MDL: An Example from the Opioids Litigation, 89 UMCK L. Rev. 897
(2021); A Theoretical Justification for Special Solicitude: States and the
Administrative State, 8 Cardozo Pub. L. Pol’y & Ethics J. 577 (2010); Timeliness and
the Non-Existence of Arbitration Agreements: Three Analogies, 12 J. Consumer &
Commercial L. 78 (2009); and Towards an Explicit Balancing Inquiry—R.A.V. and
Black through the Lens of Foreign Freedom of Expression Jurisprudence, 59 Hastings
L. J. 407 (2007).
Matt earned a B.A. from Wesleyan University and a J.D., magna cum laude, from the
University of California, Hastings College of the Law (2008). He is admitted to
practice in California (2008), the United States Courts of Appeals for the Third
(2010) and Tenth (2009) Circuits, and the United States District Courts for the
Northern (2010) and Central (2012) Districts of California.




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Derrick Farrell is a Partner in the Delaware office and focuses his practice on
representing stockholders in direct and derivative breach of fiduciary duty class
action litigation. Derrick has substantial trial experience in the Delaware Court of
Chancery.
Derrick served as one of the attorneys representing the lead plaintiff in In re: Dell
Technologies Inc. Class V Stockholders Litigation, which challenged the acquisition of
Dell’s Class V tracking stock by Dell’s controllers. In November 2022, the parties
reached an agreement to settle the case for $1 billion. If approved by the Delaware
Court of Chancery, it will be the largest settlement in U.S. state court history.
Derrick also served as a lead member of the trial team and successfully obtained a
$3.1 million partial settlement in In re Sears Hometown and Outlet Stores Inc.
Stockholders Litigation.    In addition to helping lead the trial team, Derrick
successfully argued and won a motion to exclude the expert report and testimony of
one of Defendants' expert witnesses. The case is currently in post-trial briefing.
Derrick has tried a number of other cases in the Delaware Court of Chancery
including: In re Appraisal of Ancestry.com, Inc.; IQ Holdings, Inc. v. Am. Commercial
Lines Inc.; and In re Cogent, Inc. Shareholder Litigation. He has also argued before
the Delaware Supreme Court on multiple occasions.
Derrick began his career as a Clerk for the Honorable Donald F. Parsons, Jr., Vice
Chancellor, Court of Chancery of the State of Delaware and thereafter gained
substantial M&A experience as a defense lawyer at a prominent global law firm. He
has guest lectured at Harvard University and co-authored numerous articles for
various publications, including the Harvard Law School Forum on Corporate
Governance and Financial Regulation and PLI.
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Sara Pildis Simnowitz is Special Counsel at BFA, prosecuting a variety of complex
litigations.
Sara has nearly twenty years of experience in all aspects of litigating complex
matters. Sara is dedicated to prosecuting securities, antitrust, and consumer fraud
class actions on behalf of institutional, municipal, and individual clients. Sara draws
on her extensive litigation experience while playing a key role in prosecuting the
Firm’s antitrust and consumer cases, including In re: Facebook, Inc. Consumer Privacy
User Profile Litigation.




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Sara is also an active member of BFA’s securities litigation teams. For example, she
was a member of the team in both In re Teva Securities Litigation and In re Genworth
Financial Securities Litigation.
Before joining BFA, Sara was a senior associate at Arnold & Porter LLP, where she
focused on complex commercial litigation. She previously practiced at Heller Ehrman
LLP in New York and Foley Hoag LLP in Massachusetts, where she focused on
complex commercial and securities litigation.
Sara earned a B.A., summa cum laude, from Brandeis University, a J.D. from the
University of Chicago Law School (2001), and an M.A. from the London School of
Economics and Political Science (2002). She is admitted to practice in Massachusetts
(2002), New York (2006), the U.S. Supreme Court (2008), the U.S. Court of Appeals
for the First Circuit (2003), and the U.S. District Courts for the District of
Massachusetts (2002), the Southern and Eastern Districts of New York (2006), and
the Western District of New York (2008).
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Angelica has been a member of BFA’s antitrust and consumer litigation team since
2020. She has substantial experience litigating class actions and other complex
matters in federal courts across the country. She currently represents plaintiffs in
consumer privacy litigation, including In re Facebook, Inc., Consumer Privacy User
Profile Litigation and Calhoun v. Google. Prior to joining BFA, Angelica was an
associate at a class action litigation firm, where she specialized in consumer
protection and financial products litigation. She was appointed co-class counsel in
Prather v. Wells Fargo Bank, N.A., representing individuals who received illegal
automated calls and text messages from the bank. Angelica was also a member of
the litigation team in Daccache v. Raymond James Financial, Inc., brought on behalf
of victims of the Jay Peak investment fraud—the largest in the history of the EB-5
visa program—and Larson v. John Hancock Life Insurance Company (U.S.A), a
certified class action alleging that John Hancock improperly inflated cost of
insurance charges deducted from its customers’ life insurance policies.
From 2012-2013, Angelica was a Fellow at the California Monitor Program, a program
of the California Attorney General, where she worked closely with Congresswoman
Katie Porter to ensure that the nation’s five largest mortgage servicers delivered the
relief then California Attorney General Kamala Harris negotiated for Californians as
part of the landmark $25 billion National Mortgage Settlement.
Angelica earned an undergraduate degree from UC Los Angeles and completed a
master’s program at San José State University before receiving her law degree from
UC Berkeley. After law school, she clerked for the United States District Court for the
Northern District of California and the United States Bankruptcy Court for the District
of Nevada.



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Angelica is an active member of the Sedona Conference, Working Group 1 on
Electronic Document Retention and Production. Angelica is also a member of the
Federal Bar Association, Northern District of California Chapter, and serves on the
Board of the East Bay La Raza Lawyers Association Scholarship Fund. She has been
selected as a Northern California Rising Star every year since 2017, named to The
National Trial Lawyers’ list of “Top 40 Under 40 Civil Plaintiff Trial Lawyers in
California” from 2020 to 2022, and made the Best Lawyers: Ones to Watch in
America (Insurance Law) list in 2022.
She is admitted to practice in California (2012), the U.S. Court of Appeal for the Ninth
Circuit (2019) and the U.S. District Courts of the Northern District of California (2016),
the Central District of California (2017), and the Northern District of Illinois (2019).

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Josh Samra is an associate in the Firm’s Antitrust and Consumer practice group. Josh
currently plays a significant role in the In re: Facebook, Inc. Consumer Privacy User
Profile Litigation, Calhoun, et al. v. Google LLC, and In re Google RTB Consumer
Privacy Litigation.
Prior to joining BFA, Josh was a Deputy District Attorney in Contra Costa County. As
a Deputy District Attorney, Josh oversaw all parts of criminal prosecutions, including
filing complaints, preparing and arguing motions, interviewing witnesses, trying cases
before a jury, and litigating post-trial appeals. During his time in the District
Attorney’s office, Josh prosecuted ten jury trials to verdict.
Josh earned his B.A. from the University of California Berkeley (2013) and his J.D.
from the University of California Los Angeles (2016), where he served as an Associate
Editor for the UCLA Law Review. Josh is admitted to practice in California (2016).
Josh is an active member of The Sedona Conference, Working Group 1 on Electronic
Document Retention and Production, and Working Group 6 on International
Electronic Information Management, Discovery, and Disclosure.
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Jooyoung Koo is a Project Associate in BFA’s Oakland office.
Jooyoung is an experienced attorney who has worked on complex IP, antitrust,
consumer protection and pharmaceutical product liability cases, and has conducted
in-depth document review and research analysis on wide variety of subject matters.
She is also fluent in Korean.




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Katherine (“Kasey”) joined the Firm in 2016 and is currently a Projects Associate in
BFA’s Oakland office. Kasey brings nearly two decades of experience to BFA. She
currently plays a significant role in managing discovery in the In re Domestic Airlines
Travel Antitrust Litigation, In re Facebook, Inc. Consumer Privacy User Profile
Litigation, and In re Google RTB Consumer Privacy Litigation.
Kasey earned her J.D. from Northwestern University School of Law (1999), and is
admitted to practice in California (2000).
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Margaret (“Margo”) Strakosch joined the firm in 2020 and is currently a Projects
Associate in BFA’s Oakland office, where she works with the consumer and antitrust
litigation team.
Margo plays a significant role in BFA's discovery efforts against defendants in major
consumer privacy class actions including In re: Facebook, Inc. Consumer Privacy User
Profile Litigation and In re Google RTB Consumer Privacy Litigation.
Prior to joining BFA, she clerked for Alaska Supreme Court Justice Susan M. Carney
and the U.S. Department of Labor’s Office of Administrative Law Judges.
Margo earned her J.D. from the University of Michigan Law School (2015) and a B.A.
from the Thomas More College of the Liberal Arts (2008). While at the University of
Michigan Law School, Margo served as an Executive Editor of the Michigan Journal of
International Law. Margo is admitted to practice in California (2018).

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      Staff Associate

Glen joined BFA’s Oakland office in 2019. Glen brings over a decade of experience to
his role as staff associate, where he focuses on prosecuting consumer and antitrust
class actions. Glen is a key member of the team litigating the In re: Facebook, Inc.
Consumer Privacy User Profile Litigation and Calhoun, et al. v. Google LLC.
Glen received a B.A. (2005) from the UC San Diego and a J.D. from the University of
San Francisco School of Law (2005). Glen has also completed the Yamasa Institute
Academic Intensive Japanese Program (2012). Glen is admitted to practice in
California (2005).




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As BFA’s Senior Discovery Operations Manager, Jennifer Jurmark oversees daily
discovery operations firmwide and manages large scale document reviews. She
works closely with Partners, Associates, Staff Attorneys and other external
stakeholders on the strategy and implementation of eDiscovery protocols for
complex high-stakes litigation. Jennifer leverages AI and Data Analytics to optimize
evidence gathering and case analysis.
Jennifer helped lead the eDiscovery efforts and designed and implemented
workflows for document reviews as a member of the teams that prosecuted the
securities actions concerning Teva Pharmaceuticals Industries Ltd, Granite
Construction Inc, and Allianz Global Investors U.S. LLC. Currently, Jennifer manages
the eDiscovery efforts as a member of the teams litigating BFA’s securities case
against Elastos, and the firm’s derivative action against Tesla’s Board of Directors.
She also helps manage eDiscovery efforts in the In re Google RTB Consumer Privacy
Litigation.
Jennifer has nearly fifteen years of experience working at the intersection of law,
business and technology. Prior to joining BFA, Jennifer worked at large financial
institutions and law firms. In her prior roles, she gained extensive experience
managing and leading eDiscovery efforts for multiple complex investigations and
litigations using cutting edge technology, advising senior stakeholders daily, and
running large document review teams.



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